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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND
                                 (Northern Division)




 IN RE SOURCEFIRE, INC. SECURITIES                      Master File No. 07-cv-01210-JFM
 LITIGATION
                                                        JUDGE J. FREDERICK MOTZ



 SUPPLEMENTAL FILING IN SUPPORT OF MOTION OF LEAD PLAINTIFF
 FOR FINAL APPROVAL OF THE SETTLEMENT AGREEMENT AND PLAN
     OF ALLOCATION, AND LEAD COUNSEL’S APPLICATION FOR
       ATTORNEYS’ FEES AND REIMBURSEMENT OF EXPENSES

       The date to object to the Settlement Agreement, Plan of Allocation and Lead

Counsel’s application for attorneys’ fees and reimbursement of expenses in the above

referenced matter has now passed. The date to file such objections was May 22, 2009,

and Plaintiffs’ counsel is not aware of any objection that was filed in connection with this

matter. In addition, as set forth in the papers in support of final approval of the

Settlement Agreement, Plan of Allocation and application for attorneys’ fees and

reimbursement of expenses (which were filed on May 13, 2009 [Dkt # 65]), the date to

opt-out of the settlement (April 23, 2009) has also passed and no opt-out requests were

filed. Therefore, to date, Plaintiffs’ counsel is not aware of any objections or requests for

exclusion with respect to the Settlement Agreement, Plan of Allocation or application for

attorneys’ fees and reimbursement of expenses.
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DATED: June 2, 2009            Respectfully Submitted,

                               TYDINGS & ROSENBERG LLP

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